Case 1:24-mc-00486-MWJS-RT Document 3 Filed 08/12/24 Page 1 of 1 PageID.4



                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAIʻI


IN RE: APPLICATION OF                         Misc. No. 24-00486 MWJS-RT
BRIAN HANNA TO PRACTICE
BEFORE THE COURT                              ORDER PERMITTING PRACTICE



                      ORDER PERMITTING PRACTICE

      Having considered the Application of Brian Hanna to Practice before the

Court and the Declaration in support of said application, and it appearing that the

requirements of LR83.1(c)(1) of the Local Rules of Practice for the United States

District Court for the District of Hawaiʻi have been met,

      IT IS HEREBY ORDERED that leave of Brian Hanna to appear and

practice before this Court on behalf of the United States and to attend to the

interests of the United States during the period of his employment by the United

States is GRANTED.

      DATED: August 12, 2024, at Honolulu, Hawaiʻi.



                                                              /s/ Micah W.J. Smith

                                                              Micah W.J. Smith
                                                              United States District Judge
